 Case: 4:16-cr-00106-RLW Doc. #: 82 Filed: 07/24/20 Page: 1 of 2 PageID #: 701




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             )               No. 16-CR-00106-RLW-1
                                                )
JAMES BOWEN,                                    )
                                                )
       Defendant.                               )



                                  ENTRY OF APPEARANCE

       COMES NOW, Ethan Skaggs, Assistant Federal Public Defender for the Southern District of

Illinois, and enters his appearance as counsel of record for Defendant, James Bowen, in the above-

referenced matter.




                                             Respectfully submitted,

                                             /s/ Ethan Skaggs
                                             ETHAN SKAGGS
                                             Assistant Federal Public Defender
                                             650 Missouri Avenue, Room G10A
                                             East St. Louis, Illinois 62201
                                             (618) 482-9050

                                             ATTORNEY FOR DEFENDANT
                                             JAMES BOWEN




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 Case: 4:16-cr-00106-RLW Doc. #: 82 Filed: 07/24/20 Page: 2 of 2 PageID #: 702




                                CERTIFICATE OF SERVICE

   The undersigned attorney hereby certifies that he has caused a true and correct copy of the foregoing
to be served upon:


                                           Colleen C. Lang
                                   Assistant United States Attorney
                                   111 South 10th Street, 20th Floor
                                      St. Louis, Missouri 63102

                                        Joshua Michael Jones
                                   Assistant United States Attorney
                                   111 South 10th Street, 20th Floor
                                      St. Louis, Missouri 63102

                                          Tiffany G. Becker
                                   Assistant United States Attorney
                                   111 South 10th Street, 20th Floor
                                      St. Louis, Missouri 63102

via electronic filing with the Clerk of the Court using the CM/ECF system this 24th day of July, 2020.


                                               /s/ Ethan Skaggs
                                               ETHAN SKAGGS




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